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                            Exhibit 1
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    Intellectual
    Property Rights
    Fiscal Year 2018 Seizure Statistics


    Prepared by
    U.S. Customs and Border Protection
    Office of Trade
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       Disclaimer: The information contained in this report does not
       constitute the official trade statistics of the United States. The
       statistics, and the projections based upon those statistics, are
       not intended to be used for economic analysis, and are provided
       for the purpose of establishing U.S. Department of Homeland
       Security workload.

                                                                                                       5
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                         EXECUTIVE SUMMARY

         Products that infringe U.S. trademarks and copyrights are subject
         to exclusion orders issued by the United States International
         Trade Commission threaten the health and safety of American
         consumers and pose risks to our national interests. U.S. Customs
         and Border Protection (CBP) and U.S. Immigration and Customs
         Enforcement (ICE) Homeland Security Investigations’ (HSI)
         enforcement of intellectual property rights (IPR) mitigates the
         financial and welfare risks posed by imports of illicit products.

         Each year, more than 11 million maritime containers arrive at
         our seaports. At our land borders, another 10 million arrive by
         truck and 3 million arrive by rail. An additional quarter billion
         more cargo, postal, and express consignment packages arrive
         through air travel. The Department of Homeland Security (DHS)
         remains vigilant in targeting shipments containing IPR-infringing
         goods, levying civil fines and criminally investigating those who
         seek to violate our trade laws, harm consumers, and damage our
         economy.

         In fiscal year (FY) 2018, the number of IPR seizures decreased
         by 333 seizures to 33,810 from 34,143 in FY 2017. The total
         estimated manufacturer’s suggested retail price (MSRP) of the
         seized goods, had they been genuine, increased to nearly $1.4
         billion from over $1.2 billion in FY 2017.

         In FY 2018, ICE-HSI arrested 381 individuals, obtained 296
         indictments, and received 260 convictions related to intellectual
         property crimes.




     6             EXECUTIVE SUMMARY
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                            IPR & E-Commerce
         E-commerce sales, including those through third-party platforms, have
         resulted in a sharp increase in the shipment of small packages into the
         United States. In FY 2018, there were 161 million express shipments,
         and 475 million packages shipped through the international mail
         environment.

         Over 90% of all intellectual property seizures occur in the international
         mail and express environments. A majority of those fall under the de
         minimis threshold of $800.

         In March 2018, CBP released its CBP E-Commerce Strategy. The
         strategy strengthens CBP’s ability to protect the public and U.S.
         economy from noncompliant goods. The strategy drives compliance
         and enforcement, and promotes coordination. CBP is working toward
         implementation.

         More e-commerce related information can be found at
         https://www.cbp.gov/trade/basic-import-export/e-commerce




                                 Growth of Small Shipment (in millions)
                    500                                              502
                                                                              475
                    400
   Mail Shipment
                    300
                                                           275
    Express Bills   200                          222
                                       170                                    161
                          150
                    100                                    96        110
                           76          82        91

                      0
                          2013        2014      2015      2016      2017     2018




                                                   IPR & E-COMMERCE            15
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                         FISCAL YEAR 2018 IPR SEIZURE STATISTICS
                                 BY NUMBER OF SEIZURES




      46                   41
            %
                              %




                                                                             9
                                            2                                %
                                            %
                                                     1            1
                                                     %            %

                                                                          All Other Countries
      China (Mainland)



                           Hong Kong




                                                                 Taiwan
                                          Turkey



                                                    India




                                       FY 2018 TOTALS:
                                   33,810 - NUMBER OF SEIZURES
                                       $1,399,873,842 - MSRP


    16
